Action No.: 1:18CR333-2

Case Title: United States v. Terrill Bernard Weatherspoon

Date: [/- [G: 26/%

 

RECEIPT FOR EXHIBITS FROM 11/13/2018 SUPPRESSION HEARING
Receipt is hereby acknowledged of the material(s) listed below, which are subject to the provisions

of Local Rule 79.4.

Defendant’s Exhibit 1 Affidavit for Search Warrant-3460 Hillsborough Rd

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Attorney for Defendant /

Case 1:18-cr-00333-TDS Document 35 Filed 11/16/18 Pane 1 of 2
Action No.: 1:18CR333-2

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RECEIPT FOR EXHIBITS FROM 11/13/2018 SUPPRESSION HEARING
Receipt is hereby acknowledged of the material(s) listed below, which are subject to the provisions
of Local Rule 79.4.

Government’s Exhibit 1 DVD Containing Video Footage from Days Inn

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Auypey for Government

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